                            Case 5:18-cv-07182-EJD             Document 223    Filed 11/07/23   Page 1 of 22



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                        8   San Jose, CA 95109-1469
                            Telephone:    (408) 286-9800
                        9   Facsimile:    (408) 998-4790
                   10       Attorneys for Plaintiffs and Counter-Defendants
                            NEO4J, INC. and NEO4J SWEDEN AB
                   11

                   12                                         UNITED STATES DISTRICT COURT

                   13                                   NORTHERN DISTRICT OF CALIFORNIA

                   14       NEO4J, INC., a Delaware corporation,              CASE NO. 5:18-cv-07182-EJD
                            NEO4J SWEDEN, AB,
                   15                                                         AMENDED JOINT TRIAL EXHIBIT LIST
                                                Plaintiffs,
                   16
                                     v.
                   17
                            PURETHINK LLC, a Delaware limited
                   18       liability company, IGOV INC., a Virginia
                            corporation, and JOHN MARK SUHY, an
                   19       individual,
                   20                           Defendants.
                   21
                            AND RELATED COUNTERCLAIMS.
                   22

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H OPKINS & C ARLEY
  ATTORNEYS AT LAW          4880-5875-6238.1
 SAN JOSE   PALO ALTO
                            AMENDED JOINT TRIAL EXHIBIT LIST                                       CASE NO. 5:18-CV-07182-EJD
                            Case 5:18-cv-07182-EJD             Document 223       Filed 11/07/23     Page 2 of 22



                        1            Pursuant to the Court’s Standing Order For Civil Trials, (hereinafter the “Court’s Standing
                        2   Pretrial Order”) and in light of the Court’s recent summary judgment order (Dkt. No. 216),
                        3   Plaintiffs Neo4j, Inc. and Neo4j Sweden AB (collectively, “Plaintiffs”) and Defendants
                        4   PureThink LLC, iGov Inc., and John Mark Suhy (collectively, “Defendants”) submit this
                        5   amended joint list of exhibits likely to be employed by the parties at the trial of this action. This
                        6   amended joint list is attached hereto as Exhibit A.
                        7   Dated: November 7, 2023                               HOPKINS & CARLEY
                                                                                  A Law Corporation
                        8

                        9
                                                                                  By: /s/ Jeffrey M. Ratinoff
                   10                                                                John V. Picone III
                                                                                     Jeffrey M. Ratinoff
                   11                                                                Arthur E. Rothrock
                                                                                     Attorneys for Plaintiffs and
                   12                                                                Counter-Defendants
                                                                                     NEO4J, INC. and NEO4J SWEDEN AB
                   13

                   14       Dated: November 7, 2023                                    /s/ Adron W. Beene
                                                                                    Adron W. Beene
                   15                                                               Adron G. Beene
                                                                                    Attorneys for Defendants and Counter-
                   16                                                               Claimants
                                                                                    PURETHINK LLC, IGOV INC., and
                   17                                                               JOHN MARK SUHY
                   18

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                            AMENDED JOINT TRIAL EXHIBIT LIST                                             CASE NO. 5:18-CV-07182-EJD
                            Case 5:18-cv-07182-EJD             Document 223      Filed 11/07/23     Page 3 of 22



                        1                             ATTESTATION OF E-FILED SIGNATURE
                        2            Pursuant to Local Rule 5-1(i)(3), I hereby certify that I have obtained the concurrence in

                        3   the filing of this document from all signatories for whom a signature is indicated by a

                        4   “conformed” signature (/s/) within this electronically filed document and I have on file records to

                        5   support this concurrence for subsequent production to the Court if so ordered or for inspection

                        6   upon request.

                        7   Dated: November 7, 2023                             HOPKINS & CARLEY
                                                                                A Law Corporation
                        8

                        9
                                                                                By: /s/ Jeffrey M. Ratinoff
                   10                                                              John V. Picone III
                                                                                   Jeffrey M. Ratinoff
                   11                                                              Arthur E. Rothrock
                                                                                   Attorneys for Plaintiffs and
                   12                                                              Counter-Defendants
                                                                                   NEO4J, INC. and NEO4J SWEDEN AB
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H OPKINS & C ARLEY
  ATTORNEYS AT LAW          4880-5875-6238.1
 SAN JOSE   PALO ALTO
                            AMENDED JOINT TRIAL EXHIBIT LIST                                            CASE NO. 5:18-CV-07182-EJD
Case 5:18-cv-07182-EJD   Document 223   Filed 11/07/23   Page 4 of 22




                                                  EXHIBIT A
                               Case 5:18-cv-07182-EJD               Document 223         Filed 11/07/23    Page 5 of 22
                                                          Neo4j, Inc., et al. v. PureThink, LLC, et al.
                                                                 Amended Joint Exhibit List
                                                                                                                               Date Marked for
Ex. No.     Date                            Description                                 Begs Bates        Sponsoring Witness                     Date Admitted
                                                                                                                                     ID
                      Trademark Registration Certificate for "Neo4j"
  1       08/04/14                                                                    N4J_000001           Jason Zagalsky
                      trademark, Registration No. 4,784,280.
                      Rathle announcement published on Neo4j USA's
                      website regarding the release of Neo4j® CE and
  4       05/17/18                                                                Dkt. No. 98‐2, Exh. 2    Jason Zagalsky
                      Neo4j® EE version 3.4 and introduction of Commons
                      Clause
                      Announcement regarding the release of Neo4j CE and
  6       11/15/18    Neo4j EE v3.5 published by Rathle on Neo4j USA's            Dkt. No. 98‐2, Exh. 4    Jason Zagalsky
                      website
                      Press release issued by Neo4j USA titled "Neo4j is the
  7       10/22/19    Graph Database of Choice for World's Top Financial          Dkt. No. 98‐3, Exh. 8    Jason Zagalsky
                      Services Organization"
                      Press release issued by Neo4j USA titled "Neo4j
  8       01/29/20    Marks Another Year of Product, Customer and                 Dkt. No. 98‐3, Exh. 7    Jason Zagalsky
                      Community Momentum"
                      Press release issued by Neo4j USA titled "Neo4j is the
  9       10/20/20    Choice of Leading Companies for Graph Databases in          Dkt. No. 98‐3, Exh. 4    Jason Zagalsky
                      the Cloud"
                      Printout of Neo4j USA webpage, providing links to
  10      11/25/20                                                                Dkt. No. 98‐3, Exh. 1    Jason Zagalsky
                      various awards received, https://neo4j.com/awards/
  11      09/22/23    Neo4j Awards and Honors web capture                                  N/A             Jason Zagalsky
                      9/24/2020 Aggregator Agreement between Neo4j,
  12      09/24/20                                                               N4J_020264 ‐ HC‐AEO        Kelly Zawalski
                      Inc. and Carahsoft Technology Corporation
                                                                                                            Kelly Zawalski
  13      2016‐2022   Neo4j USA Income Statement FY16 through Q3‐FY22            N4J_019991 ‐ HC‐AEO
                      Neo4j USA Monthly Closed Won Report as of 2022‐10‐
  14      10/24/22                                                       N4J_019992 ‐ HC‐AEO                Kelly Zawalski
                      24
  15      11/14/22    Neo4j Monthly Closed Won Report as of 2022‐11‐14           N4J_020132 ‐ HC‐AEO        Kelly Zawalski
                                                                                                          Jason Zagalsky or
  16      10/01/17    Neo4j USA Price List, Effective Oct 1, 2017                N4J_020187 ‐ HC‐AEO
                                                                                                            Kelly Zawalski


                                                                         Page 1 of 18
                              Case 5:18-cv-07182-EJD                Document 223        Filed 11/07/23    Page 6 of 22
                                                         Neo4j, Inc., et al. v. PureThink, LLC, et al.
                                                                Amended Joint Exhibit List
                                                                                                                              Date Marked for
Ex. No.     Date                           Description                                 Begs Bates        Sponsoring Witness                     Date Admitted
                                                                                                                                    ID
                                                                                                         Jason Zagalsky or
  17      04/01/19   Neo4j USA Price List, Effective April 1, 2019              N4J_020230 ‐ HC‐AEO
                                                                                                           Kelly Zawalski
                                                                                                         Jason Zagalsky or
  18      04/01/20   Neo4j USA Price List, Effective April 1, 2020              N4J_020201 ‐ HC‐AEO
                                                                                                           Kelly Zawalski
                                                                                                         Jason Zagalsky or
  19      07/01/21   Neo4j USA Price List, Effective July 1, 2021               N4J_020153 ‐ HC‐AEO
                                                                                                           Kelly Zawalski
                     Solicitation/Contract/Order for Commercial Items
                                                                                                         John Mark Suhy or
  20      09/29/14   from MPO to PureThink for Neo4j Enterprise Edition          00012000
                                                                                                           Jason Zaglasky
                     commercial License
                     Neo4j Solution Partner Agreement between Neo4j
  21      09/30/14   Inc. and PureThink LLC, signed by John Mark Suhy on        N4J_000004                Jason Zagalsky
                     behalf of PureThink.
                     IRS Order for Supplies or Services, Order No. TIRNO‐
                     16‐P‐00202, to PureThink for implementation of                                      Michael Dunn or
  34      09/23/16                                                                  105
                     Neo4j Government Edition for $229,000 (Depo Ex.                                     John Mark Suhy
                     159)
                     Letter from Lars Nordwall of Neo4j USA to John Mark
  47      07/11/17   Suhy of PureThink LLC providing notice of termination        000245                  Jason Zagalsky
                     of the Partner Agreement.
                     Email from John Mark Suhy to Brian Rodrigue re Some
                     updates on new package, representing that "Neo4j
                                                                            IGOV000285490.001;
                     Government Edition is being retired and the
  49      07/11/17                                                         IGOV0002854591.001;            John Mark Suhy
                     framework and services we developed are going to be
                                                                            IGOV0002854592.001
                     offered under the new name : Government Package
                     for Neo4j"
                     Email from John Mark Suhy to Sascha Moccozet re
                     Price List Attached, representing that "Neo4j
                                                                           IGOV0002860420.001;
                     Government Edition is being retired and the
  50      07/11/17                                                         IGOV0002860421.001;            John Mark Suhy
                     framework and services we developed are going to be
                                                                            IGOV0002860422.001
                     offered under the new name : Government Package
                     for Neo4j"



                                                                        Page 2 of 18
                             Case 5:18-cv-07182-EJD            Document 223           Filed 11/07/23    Page 7 of 22
                                                       Neo4j, Inc., et al. v. PureThink, LLC, et al.
                                                              Amended Joint Exhibit List
                                                                                                                            Date Marked for
Ex. No.     Date                         Description                                 Begs Bates        Sponsoring Witness                     Date Admitted
                                                                                                                                  ID

                     Email exchange between John Mark Suhy and Michael
                                                                                                       Mike Dunn or John
  51      07/12/17   Dunn of the IRS regarding PureThink continuing to        IGOV0001570544.001
                                                                                                          Mark Suhy
                     fulfill its contractual obligations (Depo Ex. 162)
                     Email from Daniels Vivan to John Mark Suhy enclosing IGOV0001570511.001;
                                                                                                        Michael Dunn or
  52      07/27/17   RFQ and SOW to John Mark Suhy for CKGE support       IGOV0001570512.001;
                                                                                                        John Mark Suhy
                     contract (Depo Ex. 163)                               IGOV0001570513.001
                     Follow‐up email from John Mark Suhy to Sascha
                     Moccozet of the National Institute of Standards and
  53      08/03/17                                                          IGOV000153905.001           John Mark Suhy
                     Technology regarding the IRS moving to iGov and
                     "Government Packages for Neo4j Enterprise.
                     Email sent by John Mark Suhy to Carol Sinnard of the
                     National Geospatial‐Intelligence Agency wherein he
  54      09/08/17                                                               000036000              John Mark Suhy
                     explains that iGov is the successor‐in‐interest to
                     PureThink.
                     Email from John Mark Suhy to Ankur Patel re IRS
                                                                          IGOV0002908953.001;
  55      01/02/18   RAAS Data Analytics and Innovation Support: Data                                   John Mark Suhy
                                                                              IGOV0002908954
                     Call #1 (iGov)
                     Email from John Mark Suhy to Michael Stavrianos re
  56      01/18/18                                                         IGOV0003027601.001           John Mark Suhy
                     CKGE for RAAS renewal
                     Letter from the Department of Treasurer to John
                     Mark Suhy enclosing Neo4j, Inc.'s September 19, 2017                              John Mark Suhy or
  57      02/15/18                                                                 000267
                     Agency‐Level Protest of the IRS's sole‐source award                                 Jason Zaglasky
                     to iGov (Depo Ex. 209)
                     Email sent by John Mark Suhy to Benjamin Nussbaum
  58      03/26/18   and Brand Nussbaum regarding using Neo4j Mark            IGOV0001570252            John Mark Suhy
                     (Depo Ex. 9)
                     Email exchange between John Mark Suhy to Philip
                     Rathle (without attachments) where Rathle warns
  59      05/01/18   Suhy about improper use of Neo4j Mark and Suhy          IGOV0000298.001            John Mark Suhy
                     tells Rathle that he is forming a non‐profit to fork
                     Neo4j EE.


                                                                      Page 3 of 18
                             Case 5:18-cv-07182-EJD            Document 223           Filed 11/07/23     Page 8 of 22
                                                       Neo4j, Inc., et al. v. PureThink, LLC, et al.
                                                              Amended Joint Exhibit List
                                                                                                                               Date Marked for
Ex. No.     Date                         Description                                 Begs Bates         Sponsoring Witness                       Date Admitted
                                                                                                                                     ID
                     Email sent by John Mark Suhy to Benjamin Nussbaum
  60      05/21/18   and Brand Nussbaum regarding starting a non‐profit         IGOV0001570192           John Mark Suhy
                     to fork Neo4j EE (Depo Ex. 10)
                     Email exchange between John Mark Suhy and Donald
                     Robertson of FSF regarding the removal of the
  61      05/22/18                                                            IGOV0001570187.001         John Mark Suhy
                     Commons Clause from the Neo4j Sweden Software
                     License (Depo Ex. 22)
                     Email exchange between John Mark Suhy and Donald
                     Robertson FSF regarding the removal of the
  62      06/20/18                                                            IGOV0001570157.001         John Mark Suhy
                     Commons Clause from the Neo4j Sweden Software
                     License (Depo Ex. 23)
                     Email from John Mark Suhy to Ben Nussbaum
  64      07/25/18   discussing founding of Graph Foundation and             IGOV0001570130.0001         John Mark Suhy
                     competing with Neo4j USA
                     Continued email exchange between John Mark Suhy
                     and Donald Robertson of FSF regarding the removal
  65      08/21/18                                                            IGOV0001570125.001         John Mark Suhy
                     of the Commons Clause from the Neo4j Sweden
                     Software License (Depo Ex. 24)
                     Email from John Mark Suhy to Brian Rodrigue of
  66      08/10/18   Excella regarding the formation of Graph Foundation        IGOV0001570129           John Mark Suhy
                     and its distribution of ONgDB
                     Issue raised on Neo4j Online Community webpage,
                                                                                                       Philip Rathle or John
  67      11/16/18   https://community.neo4j.com/t/Neo4j‐desktop‐vs‐             N4J‐GFI_000008
                                                                                                             Mark Suhy
                     neo4j‐server/3066/, regarding ONgDB (Depo Ex. 27)
                     Email exchange between John Mark Suhy and
                     Benjamin Nussbaum where Suhy forwards link,
  68      01/09/19   https://community.neo4j.com/t/neo4j‐desktop‐vs‐            IGOV0001570054           John Mark Suhy
                     neo4j‐server/3066/ regarding ONgDB, of issue raised
                     on Neo4j Online Community (Depo Ex. 26)




                                                                      Page 4 of 18
                             Case 5:18-cv-07182-EJD            Document 223           Filed 11/07/23    Page 9 of 22
                                                       Neo4j, Inc., et al. v. PureThink, LLC, et al.
                                                              Amended Joint Exhibit List
                                                                                                                            Date Marked for
Ex. No.     Date                         Description                                 Begs Bates        Sponsoring Witness                     Date Admitted
                                                                                                                                  ID
                     Email from John Mark Suhy to Lee Smales at the
                     Department of the Air Force where Suhy points him
  69      08/22/18                                                            IGOV0001573588            John Mark Suhy
                     to ONgDB via the GFI website and confirms IRS is
                     using ONgDB (Depo Ex. 19)
                     Email exchange between John Mark Suhy and Joerg
  70      01/18/19   Bacch where Suhy points him to ONgDB 3.5 via the       IGOV0001570039.001          John Mark Suhy
                     GFI website (Depo Ex. 28)
                     Email exchange between John Mark Suhy and Jyothi
  74      03/10/19   Viswanadham at Daytona Technologies Ltd. directing IGOV0001573375.0001             John Mark Suhy
                     him to download ONgDB via GFI's website
                     Issue #4 opened by John Mark Suhy on GFI's GitHub
                     repository,
  78      05/26/19   https://github.com/graphfoundation/ongdb/issues/4          N4J_019982              John Mark Suhy
                     where Suhy provides assistance to ONgDB user having
                     technical issues
                     Email exchange between John Mark Suhy and Sergio
  80      01/24/20                                                          IGOV0002856686.001          John Mark Suhy
                     Pires regarding issue with ONgDB v3.5.3
                     Email from John Mark Suhy and Keoni Gasparat of
  81      02/19/20   Neo4j, inform, copying JCI personnel, telling them to IGOV0002851597.0001          John Mark Suhy
                     use ONgDB over Neo4j EE
                     Email exchange between John Mark Suhy and Ravi
  82      04/10/20   Pappu where Suhy refers him to GFI to GraphGrid to     IGOV0002856672.001          John Mark Suhy
                     assist with transition form Neo4j to ONgDB
                     Letter from John Mark Suhy to Traci Brinkley
                     enclosing Agency‐Level Delivery Order Protest         IGOV0002851647.001;
  83      07/10/20                                                                                      John Mark Suhy
                     Objection Solicitation 2032H5‐20‐F‐00394 (Depo Ex.     IGOV0002851648.001
                     210)
                     Email exchange between John Mark Suhy and Philip
  84      03/04/21   Kreismayr of Lemon42 GmbH regarding issues with        IGOV0002956759.001          John Mark Suhy
                     ONgDB v3.5.22




                                                                      Page 5 of 18
                             Case 5:18-cv-07182-EJD            Document 223           Filed 11/07/23    Page 10 of 22
                                                        Neo4j, Inc., et al. v. PureThink, LLC, et al.
                                                               Amended Joint Exhibit List
                                                                                                                             Date Marked for
Ex. No.     Date                          Description                                 Begs Bates        Sponsoring Witness                     Date Admitted
                                                                                                                                   ID
                     11/1/2017 archive of PureThink LLC's webpage,
                     http://purethink.com/, from Wayback Machine,                                       John Mark Suhy or
  86      11/01/17                                                                00020015
                     which states that iGov was formed by the "principle                                  Jason Zaglasky
                     behind PureThink" (Depo Ex. 4)
                     Printout of iGov's webpage,
                     https://igovsol.com/about.html, which states that    Exhibit 3 to the 10/22/20     John Mark Suhy or
  87      01/13/18
                     iGov was formed by the "principle behind PureThink" deposition of Defendants         Jason Zaglasky
                     (Depo Ex. 3)
                     Copy of printout of iGov's webpage,
                     https://igovsol.com/neo4j.html, showing use of                                     John Mark Suhy or
  88      01/13/18                                                              Depo Exh. 11
                     Neo4j Mark in "Government Development Packages                                       Jason Zaglasky
                     for Neo4j"
                     12/04/18 archive of iGov's webpage,
                     https://igovsol.com/neo4j.html, from Wayback                                       John Mark Suhy or
  89      12/04/18                                                               N4J_018824
                     Machine showing infringement of Neo4j Mark and                                       Jason Zaglasky
                     encouraging download of ONgDB from GFI
                     10/01/19 capture of iGov's webpage,
                                                                                                        John Mark Suhy or
  91      10/01/19   https://igovsol.com/index.html, encouraging users to        N4J_018834
                                                                                                          Jason Zaglasky
                     adopt ONgDB for free over Neo4j EE
                     10/02/2019 capture of iGov's webpage,
                     https://igovsol.com/neo4j.html showing                                             John Mark Suhy or
  92      10/02/19                                                               N4J_018842
                     infringement of Neo4j Mark and encouraging                                           Jason Zaglasky
                     download of ONgDB from GFI (Depo Ex. 13)
                     07/27/20 capture of iGov's webpage,
                     https://igovsol.com/neo4j.html showing infringement
  94      07/27/20                                                               N4J_018892              John Mark Suhy
                     of Neo4j Mark and encouraging download of ONgDB
                     from GFI (Depo Ex. 14)
                     12/9/2020 archive of GFI's webpage,
  98      12/09/20   https://www.graphfoundation.org/projects/ongdb/,            N4J_019978              John Mark Suhy
                     showing 14,000+ downloads of ONgDB




                                                                       Page 6 of 18
                             Case 5:18-cv-07182-EJD            Document 223           Filed 11/07/23     Page 11 of 22
                                                        Neo4j, Inc., et al. v. PureThink, LLC, et al.
                                                               Amended Joint Exhibit List
                                                                                                                             Date Marked for
Ex. No.     Date                          Description                                 Begs Bates        Sponsoring Witness                     Date Admitted
                                                                                                                                   ID
                     Email from Jason Zagalsky to Michael Smolyak re
 103      06/14/18   commercial license needed for certain enterprise‐only         CACI00005431           Jason Zagalsky
                     features (Depo Ex. 42)
                     Email from Dian Griffith to Seth Cooper and Shahak
                     Nagiel of Next Century, referencing links to iGov's                                Jim Weyant or John
 104      10/01/18                                                                 CACI00005178
                     website regarding its packages for Neo4j and pricing                                   Mark Suhy
                     (Depo Ex. 43)
                     Email from Diane Griffith to Shahak Nagiel discussing
                     iGov's representations regarding the iGov/Graphstack
 105      10/17/18   free version of Neo4j Enterprise having the same              CACI00004994            Jim Weyant
                     enterprise‐only features as commercially licensed
                     Neo4j EE (Depo Ex. 44)
                     Email exchange between John Mark Suhy and Shahak
                     Nagiel of Next Century Corp where Suhy points him to
 106      10/22/18                                                                 CACI00004966            Jim Weyant
                     ONgDB 3.4 via the GFI github repository and confirms
                     IRS is using ONgDB (Depo Ex. 45)
                     Email from John Mark Suhy to Shahak Nagiel
                     confirming that iGov‐packaged Neo4j enterprise                                     Jim Weyant or John
 107      10/26/18                                                                 CACI00004931
                     distributions and ONgDB include the enterprise‐only                                    Mark Suhy
                     multi‐data centers feature (Depo Ex. 46)
                     Email from John Mark Suhy to Shahak Nagiel
                                                                                                        Jim Weyant or John
 108      01/04/19   regarding working on and anticipated release of               CACI00003832
                                                                                                            Mark Suhy
                     ONgDB 3.5.1 (Depo Ex. 47)
                     Email from Shahak Nagiel to Jim Weyant re Neo4j PoC
 109      02/01/19   Status re going with open source alternative (ONgDB)          CACI00003635            Jim Weyant
                     to Neo4j EE (Depo Ex. 48)
                     Email from Shahak Nagiel to Jason Zagalsky Re: Neo4j
                     licensing informing him that open‐sourced builds
 110      02/05/19                                                                 CACI00003597           Jason Zagalsky
                     from the Neo4j source code provided the needed
                     clustering and security requirements (Depo Ex. 49)



                                                                       Page 7 of 18
                             Case 5:18-cv-07182-EJD             Document 223           Filed 11/07/23      Page 12 of 22
                                                         Neo4j, Inc., et al. v. PureThink, LLC, et al.
                                                                Amended Joint Exhibit List
                                                                                                                                 Date Marked for
Ex. No.     Date                           Description                                 Begs Bates         Sponsoring Witness                       Date Admitted
                                                                                                                                       ID
                     Email from Ben Nussbaum to John Mark Suhy re
 111      02/19/19   NextCentury questions re licensing of ONgDB (Depo   IGOV0001573405.0001               John Mark Suhy
                     Ex. 30)
                     Email from Ben Nussbaum to Shahak Nagel after intro
 112      02/19/19   from John Mark Suhy discussing ONgDB v.3.5 (Depo    IGOV0001573400.0001               John Mark Suhy
                     Ex. 31)
                     Email from Shahak Nagiel to Brad Nussbaum
                     regarding Suhy's comments about Neo4j Sweden                                        Jim Weyant or John
 113      02/19/19                                                          CACI00003512
                     adding the Commons Clause in the referenced GitHub                                      Mark Suhy
                     thread (Depo Ex. 50)
                     Email from Shahak Nagiel to multiple recipients at
 114      02/21/19   Next Century instructing to only use ONgDB and                 CACI00003476             Jim Weyant
                     delete all Neo4j EE binaries/containers (Depo Ex. 52)
                     Email from Shahak Nagiel to Marco de Palma, Todd
                     Hughes and Jim Weyant regarding how to address use
 115      03/05/19                                                                  CACI00003446             Jim Weyant
                     of ONgDB over Neo4j EE in public forums (Depo Ex.
                     53)
                     Email exchange between Jason Zagalsky and Shahak
                     Nagiel confirming required specifications for a Neo4j                               Jason Zagalsky or Jim
 116      04/01/19                                                                  CACI00003301
                     EE proposal and scheduling meeting with NextCentury                                       Weyant
                     and MPO re same (Depo Ex. 54)
                     Email exchange between Jason Zagalsky and Shahak
                                                                                Dkt. No. 98‐3, Ex. 13,
 117      04/29/19   Nagiel confirming Next Century would continue to use                                   Jason Zagalsky
                                                                                  filed under seal.
                     ONgDB instead of Neo4j EE
                     Email from Jason Zagalsky to Shakan Nagiel thanking
                     him for setting up meeting with MPO and attaching
 118      04/19/19                                                                  CACI00003155            Jason Zagalsky
                     Neo4j USA's commercial licensing proposal for $2.2
                     million (Depo Ex. 55)




                                                                        Page 8 of 18
                            Case 5:18-cv-07182-EJD           Document 223           Filed 11/07/23     Page 13 of 22
                                                      Neo4j, Inc., et al. v. PureThink, LLC, et al.
                                                             Amended Joint Exhibit List
                                                                                                                           Date Marked for
Ex. No.     Date                        Description                                 Begs Bates        Sponsoring Witness                     Date Admitted
                                                                                                                                 ID
                     Email from Shahak Nagiel to Jason Zagalsky
                     confirming that NextCentury shared Neo4j USA's
 119      04/29/19                                                            CACI00003132              Jason Zagalsky
                     proposal with MPO and confirming that NextCentury
                     continued to use ONgDB (Depo Ex. 56)
                     Email from Shahak Nagiel to Jason Zagalsky (copying
                     Jim Weyant) confirming that the MPO was not
 120      07/21/19                                                            CACI00002845             Jason Zagalsky
                     interested in paying for a commercial license for
                     Neo4j EE (Depo Ex. 50)
                     Email exchange between Brad Nussbaum and Michael
 121      01/23/20   Smolyak confirming that MPO still using ONgDB and        CACI00006260             James Weyant
                     interested in version 4.0 (Depo Ex. 58)
                     Email from Michael Smolyak to Tammy Turpin
 122      10/27/20   regarding moving ONgDB into production at MPO            CACI00005838             James Weyant
                     (Depo Ex. 60)
                     Email from Michael Dunn to John Mark Suhy
                     regarding meeting with Jason Zagalsky and John                                   Mike Dunn or John
 123      03/29/17                                                        IGOV0001570725.001
                     Broad of Neo4j USA and need for 12‐core enterprise                                  Mark Suhy
                     license in production (Depo Ex. 160)
                     Email exchange between Michael Dunn and John
                     Mark Suhy regarding iGov and eGovernment
 124      10/04/17                                                         IGOV000153249.001           John Mark Suhy
                     Solutions supporting the CKGE platform (Depo Ex.
                     214)
                     Email sent by John Mark Suhy to Michael Dunn of the
 125      05/22/18   IRS regarding Neo4j Sweden adding the Commons        IGOV0001573245.001             Mike Dunn
                     Clause to Neo4j EE v3.4 (Depo Ex. 165)
                     Email from Jason Zagalsky to Michael Dunn regarding
 126      05/22/18   sole‐source order with eGov Sol for consulting and        N4J_019998              Jason Zagalsky
                     support of CKGE (Depo Ex. 164)
                     Email from John Mark Suhy to Michael Dunn
                                                                         IGOV0001573245.001;           Michael Dunn or
 127      05/22/18   regarding Neo4j Sweden adding Commons Clause to
                                                                          IGOV0001573246.001           John Mark Suhy
                     AGPL in Neo4j EE 3.4 (Depo Ex. 165)



                                                                     Page 9 of 18
                             Case 5:18-cv-07182-EJD             Document 223            Filed 11/07/23   Page 14 of 22
                                                         Neo4j, Inc., et al. v. PureThink, LLC, et al.
                                                                Amended Joint Exhibit List
                                                                                                                              Date Marked for
Ex. No.     Date                           Description                                  Begs Bates       Sponsoring Witness                     Date Admitted
                                                                                                                                    ID
                     Email exchange between Lisa Rosenmerkel and Jason
                     Zagalsky regarding scheduling a meeting regarding
 128      05/31/18                                                                   N4J_020061           Jason Zagalsky
                     the IRS's needs relating to Neo4j software (Depo Ex.
                     167)
                     Email exchange between Michael Dunn and John
                     Mark Suhy regarding the IRS switching from Neo4j EE                                 Michael Dunn or
 129      06/15/18                                                              IGOV0001573231.001
                     3.2 to Neo4j CE 3.4 in light of change to licensing in                              John Mark Suhy
                     Neo4j EE 3.4 (Depo Ex. 166)
                     Email sent by John Mark Suhy to Michael Dunn of the
 130      06/29/18                                                                 IGOV000153225          John Mark Suhy
                     IRS introducing ONgDB as replacement for Neo4j EE

                     Email exchange between Lisa Rosenmerkel and Jason
 131      07/27/18   Zegalsky regarding proposal for Neo4j EE subscription           N4J_020130           Jason Zagalsky
                     bundle for CKGE environment (Depo Ex. 168)
                     Email exchange between John Mark Suhy and Michael
                     Dunn recommending that the IRS move from Neo4j                                      Michael Dunn or
 132      08/13/18                                                       IGOV0001573217.0001
                     EE 3.3.2 to ONgDB 3.4.x in the CKGE framework                                       John Mark Suhy
                     (Depo Ex. 169)
                     Email from Michael Dunn to John Mark Suhy
                                                                                                         Michael Dunn or
 133      08/14/18   instructing him to integrate ONgDB into the CKGE     IGOV0001573216.001
                                                                                                         John Mark Suhy
                     framework (Depo Ex. 170)
                     Email from Michael C. Dunn to John Mark Suhy
                     confirming he will proceed with ONgDB and also                                      Michael Dunn or
 134      08/14/18                                                        IGOV0001573215.001
                     inviting Raul Tikekar to discuss using ONgDB in YK1                                 John Mark Suhy
                     platform (Depo Ex. 171)
                     Email from Ansaldi Joseph to Michael Dunn,
 135      08/24/18                                                         IRS_PROD_00009175              John Mark Suhy
                     forwarding emails from John Mark Suhy regarding
                     Email exchange between John Mark Suhy and Patrick
                                                                                                         Michael Dunn or
 137      12/11/18   Martin discussing hardware requirements for CKGE      IRS_PROD_00009220
                                                                                                         John Mark Suhy
                     and YK1 (Depo Ex. 173)



                                                                        Page 10 of 18
                             Case 5:18-cv-07182-EJD              Document 223            Filed 11/07/23    Page 15 of 22
                                                          Neo4j, Inc., et al. v. PureThink, LLC, et al.
                                                                 Amended Joint Exhibit List
                                                                                                                               Date Marked for
Ex. No.     Date                           Description                                   Begs Bates       Sponsoring Witness                     Date Admitted
                                                                                                                                     ID
                     Email exchange between Martin Patrick and John
                                                                                                           Michael Dunn or
 138      03/11/19   Mark Suhy regarding ONgDB sever instances in CKGE           IRS_PROD_00001738
                                                                                                           John Mark Suhy
                     (Depo Ex. 174)
                     Email exchange between Martin Patrick and John
 139      04/24/19   Mark Suhy with Suhy providing download link for             IRS_PROD_00001638         John Mark Suhy
                     ONgDB Enterprise 3.5.3 on IRS repository
                     Email from Joshua Porter to John Mark Suhy seeking
 140      08/22/19   support for ONgDB Enterprise 3.5.3 installed on YK1         IRS_PROD_00001356         John Mark Suhy
                     server at IRS
                     Cancellation of Meeting from Michael Dunn to Patrick
                     Martin, Michael Young, John Mark Suhy, Joshua
 141      09/10/19                                                                IRS‐PROD‐00001321          Mike Dunn
                     Porter, Jonathan Edelson and Joseph Ansaldi re disc of
                     BETA, STAGE, PROD domains (Depo Ex. 175)
                     Email exchange between Nathan Gire at the IRS and
 142      09/13/19   John Mark Suhy regarding patched version of ONgDB           IRS_PROD_00002010         John Mark Suhy
                     3.5.4
                     Email exchange between Joshua Porter at the IRS and
                                                                                                          Mike Dunn or John
 143      09/17/19   John Mark Suhy regarding updating ONgDB at the IRS          IRS_PROD_00002201
                                                                                                             Mark Suhy
                     from version 3.5.3 to version 3.5.9 (Depo Ex. 178)
                     Email from Michael Dunn to a number of individuals
                     with the IRS, including John Mark Suhy, Michael
 144      09/20/19   Stavrianos and Brian Bird regarding new ONgDB               IRS_PROD_00001292           Mike Dunn
                     libraries available on internal IRS repository (Depo Ex.
                     149)
                     Email exchange between Hai Huynh and John Mark
                     Suhy regarding downloading ONgDB 3.5.11 from                                          Michael Dunn or
 145      11/12/19                                                               IRS_PROD_00000473
                     internal IRS repository and running on IRS laptop                                     John Mark Suhy
                     (Depo Ex. 181)




                                                                         Page 11 of 18
                             Case 5:18-cv-07182-EJD             Document 223            Filed 11/07/23    Page 16 of 22
                                                         Neo4j, Inc., et al. v. PureThink, LLC, et al.
                                                                Amended Joint Exhibit List
                                                                                                                              Date Marked for
Ex. No.     Date                           Description                                  Begs Bates       Sponsoring Witness                     Date Admitted
                                                                                                                                    ID
                     Order for Supplies or Services Contract No. 2032H5‐
 146      09/28/20   19‐A‐00011 to ASR Analytics for Corporate Graph                Depo Exh. 185          Michael Dunn
                     Database (Depo Ex. 185)
                     Email from John Mark Suhy to donald@fsf.org,
                     craigt@fsf.org, and licensing@fsf.org re Nov 13th          IGOV000299652.001;
 147      11/17/20                                                                                        John Mark Suhy
                     2020 Court opinion on AGPL ‐ may need FSF                  IGOV0002997653.001
                     involvement
                     Email from John Mark Suhy to Geoffreyk@fsf.org re
                                                                                IGOV000299658.001;
 148      11/17/20   Case regarding AGPL precedent: Nov 13th 2020 ‐ Case                                  John Mark Suhy
                                                                                 IGOV000299659.001
                     No. 5:19‐cv‐06226‐EJD
                     Email from John Mark Suhy to copyright@fsf.org;
 149      11/23/20   licensing@fsf.org re Question regarding AGPL and           IGOV0002997701.001        John Mark Suhy
                     Verbatim License
                     Stipulated Judgment and Permanent Injunction filed
 150      02/16/21                                                                  Depo Exh. 190          Judicial Notice
                     in Neo4j, Inc. et al v. Graph Foundation, Inc. case
                     Doc 118 ‐ Order Granting Plaintiffs' Motion for Partial
 151      05/18/21   Summary Judgment; Denying Defendants'' Cross‐                   Dkt. No. 118          Judicial Notice
                     Motion for Summary Judgment
                     Software Freedom Conservancy Article titled "An
 152      03/30/22   Erroneous Preliminary Injunction Granted in Neo4j v.                                 John Mark Suhy
                     PureThink"
                     Email from John Mark Suhy to Puru Komaravolu and
 153      04/27/22   Michael Dunn re "Article Relating to agpl and                  EGOVS_00210           John Mark Suhy
                     commons"
                     Subcontract Agreement between ASR Analytics, LLC
                     and iGov, Inc. for prime contract #2032H8‐18‐C‐
                                                                                                         Michael Stavrianos
 154      10/01/18   00037 to Tylor Data Services, LLC for consulting                 ASR 01764
                                                                                                         or John Mark Suhy
                     services including technical guidance and deployment
                     support related to the CKGE (Depo Ex. 134)




                                                                        Page 12 of 18
                             Case 5:18-cv-07182-EJD            Document 223            Filed 11/07/23    Page 17 of 22
                                                        Neo4j, Inc., et al. v. PureThink, LLC, et al.
                                                               Amended Joint Exhibit List
                                                                                                                             Date Marked for
Ex. No.     Date                          Description                                  Begs Bates       Sponsoring Witness                     Date Admitted
                                                                                                                                   ID
                     Master Subcontract Agreement between ASR
                     Analytics and iGov, Inc. for Contract No. GS10F0062R                               Michael Stavrianos
 155      11/07/18                                                                 Depo Exh. 135
                     / 2032‐H5‐19‐A‐00011 for RAAS Data Analytics and                                   or John Mark Suhy
                     Innovation Support (DAIS)
                     Email from John Mark Suhy to Deborah Tylor, Aaron
                     Taylor, Logan Montrone, Lauren Szczerbinski, Michael
 156      01/04/19                                                             IGOV0002908811.001        John Mark Suhy
                     Stavrianos and Sook Seo providing iGov‐based
                     download link for ONgDB
                     Email from John Mark Suhy to Joseph Haaga re A few
 157      02/15/19   engineering questions, confirming ONgDB docker            IGOV0002908642.001        John Mark Suhy
                     image for 3.4.12 and 3.5.3 available for CKGE
                     Email from John mark Suhy to Michael Stavrianos
                                                                                                        Michael Stavrianos
 158      03/29/19   enclosing resume for Cyber RFQ (KG‐API engagement)              ASR 00719
                                                                                                        or John Mark Suhy
                     (Depo Ex. 133)
                     Invoice #212 sent by iGov to ASR for work on Tylor
                                                                                                        Michael Stavrianos
 160      6/6/2019   Data Services, LLC:IRS RAAS Graph Analytics in the              ASR 01901
                                                                                                        or John Mark Suhy
                     amount of $1,750 (Depo Ex. 142)
                     Email from Deborah Tylor to John Mark Suhy,
                                                                                                        Michael Stavrianos
 161      12/06/19   Alexander Seo Sook, Michael Stavrianos and Lauren          IRS‐PROD‐00000334
                                                                                                        or John Mark Suhy
                     Szczerbisnski re KGAPI milestones (Depo Ex. 150)
                     Volume 1 ‐ Technical Proposal (RFQ‐20‐U0016) ‐ ASR
                     Analytics for RAAS Data Analytics and Innovation
 162      07/27/20                                                                 Depo Exh. 137        Michael Stavrianos
                     Support (DAIS) made under Blanket Purchase
                     Agreement for KG‐API
                     Modification 001 to Master Subcontract Agreement
                                                                                                        Michael Stavrianos
 163      06/04/20   for iGov's work at IRS on RAAS Data Analytics and               ASR 01898
                                                                                                        or John Mark Suhy
                     Innovation Support (DAIS) (Depo Ex. 136)
                     Subcontractor Task Order Number 0001 under ASR‐
                                                                                                        Michael Stavrianos
 164      10/05/20   RAAS_DAIS‐iGov‐0001 for Emerging Compliance                     ASR 01752
                                                                                                        or John Mark Suhy
                     Issues totaling $29,538.00 (Depo Ex. 138)




                                                                       Page 13 of 18
                             Case 5:18-cv-07182-EJD            Document 223            Filed 11/07/23     Page 18 of 22
                                                        Neo4j, Inc., et al. v. PureThink, LLC, et al.
                                                               Amended Joint Exhibit List
                                                                                                                                Date Marked for
Ex. No.     Date                          Description                                  Begs Bates        Sponsoring Witness                       Date Admitted
                                                                                                                                      ID
                     Subcontractor Task Order Number 0002 under ASR‐
                     RAAS_DAIS‐iGov‐0001 for Support for Support for                                    Michael Stavrianos
 165      10/07/20                                                                   ASR 01758
                     Corporate Graph Database totaling $25,993.44 (Depo                                 or John Mark Suhy
                     Ex. 139)
                     Subcontractor Task Order Number 0001 ‐
                     Modification 01 under ASR‐RAAS_DAIS‐iGov‐0001 for                                  Michael Stavrianos
 166      11/09/21                                                                   ASR 01755
                     Emerging Compliance Issues totaling $35,470.90                                     or John Mark Suhy
                     (Depo Ex. 140)
                     Subcontractor Task Order Number 0002 ‐
                     Modification 01 under ASR‐RAAS_DAIS‐iGov‐0001 for                                  Michael Stavrianos
 167      11/09/21                                                                   ASR 01761
                     Support for Support for Corporate Graph Database                                   or John Mark Suhy
                     totaling $21,131.60 (Depo Ex. 141)
                     Invoice #267 sent by iGov to ASR for work on
                     TIRS:DAIS BPA (lOT Innovation, Knowledge Graph,                                    Michael Stavrianos
 168      3/5/2021                                                                   ASR 01915
                     Corporate Graph, Emerging Compliance Issues) in the                                or John Mark Suhy
                     amount of $14,474.12 (Depo Ex. 143)
                     Invoice #303 sent by iGov to ASR for work on IRS:DAIS
                                                                                                        Michael Stavrianos
 169      7/7/2022   BPA (IDT, KG, CG, ECI) in the amount of $6,490.42               ASR 01956
                                                                                                        or John Mark Suhy
                     (Depo Ex. 144)
                     Master Subcontract Agreement between ASR
                     Analytics and Greystones Consulting Group, LLC for
                                                                                                        Turin Pollard or John
 170      07/07/22   Contract No. GS10F0062R / 2032‐H5‐19‐A‐00011 for            Greystones000656
                                                                                                             Mark Suhy
                     RAAS Data Analytics and Innovation Support (DAIS)
                     (Depo Ex. 149)
                     Subcontractor Task Order Number 0001_MOD 01
                     under ASR‐RAAS_DAIS‐Greystones‐0001 for Emerging                                   Turin Pollard or John
 171      10/04/22                                                                   ASR 02025
                     Compliance Issues, replacing Subcontract Agreement                                      Mark Suhy
                     with iGov Inc. (Depo Ex. 250)




                                                                       Page 14 of 18
                             Case 5:18-cv-07182-EJD             Document 223            Filed 11/07/23     Page 19 of 22
                                                         Neo4j, Inc., et al. v. PureThink, LLC, et al.
                                                                Amended Joint Exhibit List
                                                                                                                                 Date Marked for
Ex. No.     Date                           Description                                  Begs Bates        Sponsoring Witness                       Date Admitted
                                                                                                                                       ID

                     Subcontractor Task Order Number 0002_MOD 01
                     under ASR_RAAS_DAIS‐Greystones‐0001 for Support                                     Turin Pollard or John
 172      11/01/22                                                                    ASR 02028
                     for Corporate Graph Database, replacing Subcontract                                      Mark Suhy
                     Agreement with iGov Inc. (Depo Ex. 251)
                     ASR Analytics LLC Transaction List by Vendor
                     1/1/2015 ‐ 07/27/2022 for payments made to iGov
 173      11/02/22   totaling 246,082.55, which the parties stipulated                ASR 01999          Michael Stavrianos
                     accurately reflected amounts ASR paid iGov through
                     07/27/2022 (Depo Ex. 145)
                     ASR Analytics Form 1099‐NEC for 2020 to iGov for
 174       2020                                                                       ASR 02000            John Mark Suhy
                     $70,447.22 (Depo Ex. 220)
                     ASR Analytics Form 1099‐NEC for 2021 to iGov for
 175       2021                                                                       ASR 02002            John Mark Suhy
                     $127,657.40 (Depo Ex. 221)
                     Stock Purchase Agreement between John Mark Suhy
                     and Ashwani Mayur and Nikhil Budhiraja where Suhy
                                                                                                          Ashwani Mayur or
 180      12/31/18   sells his shares in eGov Sol to other shareholders for         Depo Exh. 100
                                                                                                           John Mark Suhy
                     $20,000 and the proceeds from the CKGE Contract
                     with the IRS
                     eGovernment Solutions Inc.'s quote for CKGE                                          Ashwani Mayur or
 181      04/06/18                                                                 EGOVS_000001
                     Contract prepared by John Mark Suhy (Depo Ex. 102)                                    John Mark Suhy
                     Order for Supplies or Services Order No. 2032H8‐18‐P‐
                                                                                                          Ashwani Mayur or
 182      05/24/18   00151, 1st year of CKGE Contract for $300,000 (Depo           EGOVS_000015
                                                                                                           John Mark Suhy
                     Ex. 103)
                     Amendment of Solicitation/Modification of Contract
                                                                                                          Ashwani Mayur or
 183      05/31/18   to correct Order No. 2032H8‐18‐P‐00151 to 2032H8‐             EGOVS_000021
                                                                                                           John Mark Suhy
                     18‐P‐00168 for CKGE Contract (Depo Ex. 104)




                                                                        Page 15 of 18
                              Case 5:18-cv-07182-EJD            Document 223            Filed 11/07/23   Page 20 of 22
                                                         Neo4j, Inc., et al. v. PureThink, LLC, et al.
                                                                Amended Joint Exhibit List
                                                                                                                              Date Marked for
Ex. No.     Date                           Description                                  Begs Bates       Sponsoring Witness                     Date Admitted
                                                                                                                                    ID
                      Amendment of Solicitation/Modification of Contract
                      to exercise option year 1 in the amount of
                                                                                                         Ashwani Mayur or
 184      05/24/19    $200,000.00 with a period of performance is                  EGOVS_000030
                                                                                                          John Mark Suhy
                      5/24/2019 ‐ 5/23/2020 for CKGE Contract (Depo Ex.
                      105)
                      Amendment of Solicitation/Modification of Contract
                                                                                                         Ashwani Mayur or
 185      09/26/19    to modify funding for option year 1 by $216,000 for          EGOVS_000034
                                                                                                          John Mark Suhy
                      CKGE Contract (Depo Ex. 106)
                      Amendment of Solicitation/Modification of Contract
                      to exercise option year 2 in the amount of $200,000                                Ashwani Mayur or
 186      05/24/20                                                                 EGOVS_000042
                      for a period of performance of 5/24/2020 to                                         John Mark Suhy
                      5/23/2021 for CKGE Contract (Depo Ex. 107)
                      Amendment of Solicitation/Modification of Contract
                      to exercise option year 3 in the amount of $200,000                                Ashwani Mayur or
 187      05/24/21                                                                 EGOVS_000058
                      for a period of performance of 5/24/2021 to                                         John Mark Suhy
                      5/23/2022 for CKGE Contract (Depo Ex. 108)
                      Amendment of Solicitation/Modification of Contract
                      to exercise option year 4 in the amount of $200,000                                Ashwani Mayur or
 188      05/24/22                                                                 EGOVS_000062
                      for a period of performance of 5/24/2022 to                                         John Mark Suhy
                      5/23/2023 for CKGE Contract (Depo Ex. 109)
                      Ex 110 ‐ Combined Invoicing Docs (Nos. 817, 827, 901,
                                                                                                         Ashwani Mayur or
 189      2018‐2022   955, 960, 912) for CKGE Contract totaling $1,316,000         EGOVS_000068
                                                                                                          John Mark Suhy
                      (Depo Ex. 110)
                      E‐Gov Solutions 1099 to iGov (2018) for $285,700.00                                Ashwani Mayur or
 190        2018                                                                   EGOVS_000140
                      (Depo Ex. 111)                                                                      John Mark Suhy
                      E‐Gov Solutions 1099 to iGov (2019) for $199,850.00                                Ashwani Mayur or
 191        2019                                                                   EGOVS_000141
                      (Depo Ex. 112)                                                                      John Mark Suhy
                      E‐Gov Solutions 1099 to iGov (2020) for $193,000.00                                Ashwani Mayur or
 192        2020                                                                   EGOVS_000142
                      (Depo Ex. 113)                                                                      John Mark Suhy
                      E‐Gov Solutions 1099 to iGov (2021) for $197,000.00                                Ashwani Mayur or
 193        2021                                                                   EGOVS_000143
                      (Depo Ex. 114)                                                                      John Mark Suhy



                                                                        Page 16 of 18
                              Case 5:18-cv-07182-EJD              Document 223           Filed 11/07/23   Page 21 of 22
                                                          Neo4j, Inc., et al. v. PureThink, LLC, et al.
                                                                 Amended Joint Exhibit List
                                                                                                                               Date Marked for
Ex. No.     Date                            Description                                  Begs Bates       Sponsoring Witness                     Date Admitted
                                                                                                                                     ID
                      Combined Wells Fargo Bank Statements for
                                                                                                          Ashwani Mayur or
 194      2018‐2022   eGovernment Solutions account where IRS deposits          EGOV PRODUCTION 81
                                                                                                           John Mark Suhy
                      and payments to iGov were made (Depo Ex. 115)
                      LinkedIn profile for Richard Starr ‐ Attorney ‐ Irving
                                                                                                          Ashwani Mayur or
 195      10/25/22    Starr Esq., P.C., counsel of record for Defendants             Depo Exh. 116
                                                                                                           John Mark Suhy
                      (Depo Ex. 116)
                      iGov Invoice #400 to eGovernment Solutions for
 196      06/01/22                                                                   Depo Exh. 216         John Mark Suhy
                      $189,000 (Depo Ex. 216)
                      Wells Fargo Statements for eGovernment Solutions
 197                                                                                EGOVS_000151           John Mark Suhy
                      Account No. 5581518783 (Depo Ex. 217)
                      Various checks from Wells Fargo Account No.
 198                                                                                EGOVS_000150           John Mark Suhy
                      5581518783 signed by John Mark Suhy (Depo Ex. 218)

                      Various checks from Wells Fargo Account No.
 199                                                                                EGOVS_000144           John Mark Suhy
                      5581518783 signed by John Mark Suhy (Depo Ex. 219)
                      PureThink LLC Profit & Loss Statement, January
 200        2014                                                                 IGOV0001569059.001        John Mark Suhy
                      through December 2014 (Depo Ex. 197)
                      PureThink LLC's Profit and Loss Statement for 2015
 201        2015                                                                 IGOV0001569058.001        John Mark Suhy
                      (Depo Ex. 198)
                      Purethink LLC's Profit and Loss Statement for 2016
 202        2016                                                                 IGOV0001569057.001        John Mark Suhy
                      (Depo Ex. 199)
                      iGov Inc. Profit and Loss Statement for 2018 (Depo
 203        2018                                                                      Depo Exh. 33         John Mark Suhy
                      Ex. 3
                      iGov Inc Profit and Loss Statement for 2019 (Depo Ex.
 204        2019                                                                     Depo Exh. 223         John Mark Suhy
                      223)
                      iGov Inc Profit and Loss Statement for 2020 (Depo Ex.
 205        2020                                                                     Depo Exh. 225         John Mark Suhy
                      225)
                      iGov Inc Profit and Loss Statement for 2021 (Depo Ex.
 206        2021                                                                     Depo Exh. 226         John Mark Suhy
                      227)




                                                                         Page 17 of 18
                              Case 5:18-cv-07182-EJD            Document 223            Filed 11/07/23   Page 22 of 22
                                                         Neo4j, Inc., et al. v. PureThink, LLC, et al.
                                                                Amended Joint Exhibit List
                                                                                                                              Date Marked for
Ex. No.     Date                          Description                                   Begs Bates       Sponsoring Witness                     Date Admitted
                                                                                                                                    ID
                      9/30/20 archive of GFI's GitHub landing page for its
                      ONgDB repository,                                                                  Jason Zagalsky or
 207      9/30/2020                                                                  N4J_019440
                      https://github.com/graphfoundation/ongdb, from the                                  John Mark Suhy
                      Wayback Machine
 208                  CV of Steven Boyles                                                                  Steven Boyles


                      AGPL LICENSE.txt files for the ONgDB v3.4 source
1002       Dec‐19                                                               00035042‐00035052         John Mark Suhy
                      code branch
                      Commit from the GitHub.com web browser, by Mr.
1010      3/1/2019                                                                   N4J_013051           John Mark Suhy
                      Suhy
                      Statement of Work for the CKGE contract, Statement
1011                                                                                                      John Mark Suhy
                      of Work_FINAL.pdf
                      Emails between Nagiel, Nussbaum, and Suhy re:
1012      2/22/2019                                                               CTRL0002854745          John Mark Suhy
                      Neo4j licensing
                      Emails between Zagalsky and Dunn on Commons
1027      5/22/2019                                                                  N4J_019995           John Mark Suhy
                      Clause
1043      8/15/2016   Email between Suhy and Lars Nordwall re: IRS                   N4J_006825           John Mark Suhy
1044      4/28/2016   Email between Suhy and John Broad re: IRS                      N4J_005415           John Mark Suhy
                      Email from Michael Dunn to Jason Zagalsky re:
1064      8/8/2017                                                                   N4J_011051           John Mark Suhy
                      License
                      iGovsol.com website screenshot with downloads and
1097      10/2/2019                                                                  N4J_013004           John Mark Suhy
                      faq
1098      8/5/2018    Purethink.com website screenshot                        N4J_000011‐N4J_000012       John Mark Suhy
                      Email between Brad Nussbaum and Shahak Nagiel of
1101      2/19/2019                                                               CTRL0002854753          John Mark Suhy
                      Next Century re commons clause.
                      Next Century document showing comparisons of
1103                                                                                CACI00005257          John Mark Suhy
                      technologies.




                                                                        Page 18 of 18
